                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

UNITED STATES OF AMERICA,                               )
                                                        )
                        Plaintiff,                      )
                                                        )       No. 3:10-CR-11
V.                                                      )
                                                        )       (VARLAN/SHIRLEY)
RONALD KEITH HATCHETT,                                  )
                                                        )       FILED UNDER SEAL
                        Defendant.                      )


                                 MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This cause is before the Court on the Defendant’s Motion to Continue [Doc.

20], filed on April 16, 2010. In his motion, the Defendant asks the Court to continue the April 27,

2010 trial date to give counsel additional time to resolve all of the issues and to prepare for trial.

The motion states that the Defendant understands that the time between the filing of the motion and

the new trial date will be fully excludable under the Speedy Trial Act. Finally, the motion represents

that the Government agrees with the need for a continuance in this case and that the parties have

agreed on a new trial date of August 17, 2010.

        The Court finds the Defendant’s motion for a continuance to be well taken and that the ends

of justice served by granting a continuance outweigh the interest of the Defendant and the public in

a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Defendant seeks additional time for his attorney to

resolve pretrial issues and to prepare for trial. The Court finds that the failure to grant a continuance

would deprive defense counsel of the reasonable time necessary to prepare effectively for a trial

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despite counsel’s due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv). The Court finds that such

preparation cannot be accomplished prior to the August 17, 2010 trial date.

       Accordingly, the Defendant’s motion for a continuance [Doc. 20] is GRANTED, and the

trial is continued until August 17, 2010. The Court finds, and the parties agree, that all the time

between the filing of the Motion to Continue on April 16, 2010, and the new trial date of August

17, 2010, is fully excludable time under the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A)-(B).

       Accordingly, it is ORDERED:

               (1) The Defendant’s Motion to Continue [Doc. 20] is GRANTED;

               (2) The trial of this matter is reset to commence on August 17, 2010,
               at 9:00 a.m., before the Honorable Thomas A. Varlan, United States
               District Court Judge; and

               (3) All time between the filing of the motion on April 16, 2010, and
               the new trial date of August 17, 2010, is fully excludable time for
               speedy trial purposes as set forth above.

       IT IS SO ORDERED.

                                                     ENTER:


                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




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